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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
CAROL PEMBER,                       *
                                    *       No. 15-1005
                  Petitioner,       *       Special Master Christian J. Moran
                                    *
v.                                  *
                                    *       Filed: August 22, 2017
SECRETARY OF HEALTH                 *
AND HUMAN SERVICES,                 *       Stipulation; trivalent influenza (“flu”)
                                    *       vaccine; brachial neurities.
                  Respondent.       *
*********************
Richard Gage, Richard Gage, PC, Cheyenne, WY, for Petitioner;
Glenn Macleod, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On August 21, 2017, the parties filed a joint stipulation concerning the
petition for compensation filed by Carol Pember on September 11, 2015. In her
petition, petitioner alleged that the trivalent influenza (“flu”) vaccine, which is
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a), and
which she received on October 4, 2012, caused her to suffer brachial neuritis.

       Petitioner further alleges that she suffered the residual effects of this injury
for more than six months. Petitioner represents that there has been no prior award
or settlement of a civil action for damages on her behalf as a result of her
condition.

       Respondent denies that the flu vaccine caused petitioner to suffer brachial
neuritis or any other injury.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $110,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-1005V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
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